Case 1:18-cr-00457-AJT. Document 239 Filed 07/01/19 Page 1 of 1 PagelD# 2496 -

_IN THE UNITED STATES DISTRICT COURT FOR THE 7
, filed with the Classified

EASTERN DISTRICT OF VIRGINIA ° ' {nformation Security Officer
| ciso E

 

. Alexandria Division pate? | UTAV™
- UNITED STATES OF AMERICA ) Crim, No. 1:18-CR-457 (AJT).

v. a 5 "IN CAMERA, EX PARTE
. BIJAN RAFIEKIAN and |. : . a AND UNDER SEAL

KAMIL EKIM ALPTEKIN, _ )

Defendants — | 5

~ GOVERNMENT?’ S RESPONSE TO
DEFENDANT’S MOTION TO COMPEL

 
